Case 1:20-cv-00452-NYW-SKC Document 218 Filed 03/10/23 USDC Colorado Page 1 of 12




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                     Judge Nina Y. Wang


   Civil Action No. 20-cv-00452-NYW-SKC

   TIFFANY GRAYS,

          Plaintiff,

   v.

   NAVIENT SOLUTIONS, LLC,

          Defendant.

                          ORDER ADOPTING RECOMMENDATION OF
                            UNITED STATES MAGISTRATE JUDGE


          This matter comes before the Court on the Recommendation of United States Magistrate

   Judge S. Kato Crews. [Doc. 213]. Judge Crews recommends that Defendant Navient Solutions,

   LLC’s (“Navient” or “Defendant”) Motion for Summary Judgment (or “Motion”), [Doc. 183], be

   granted.    Plaintiff Tiffany Grays (“Ms. Grays” or “Plaintiff”) filed an Objection to the

   Recommendation, [Doc. 216], and Navient responded, [Doc. 217]. For the reasons below, the

   Court ADOPTS the Recommendation, which is incorporated into this Order by reference, and

   OVERRULES Ms. Grays’s Objection. See 28 U.S.C. § 636(b)(1)(B); Fed. R. Civ. P. 72(b).

   I.     LEGAL STANDARDS

          A.      Review of a Magistrate Judge’s Recommendation

          Pursuant to Federal Rule of Civil Procedure 72, this Court reviews de novo any part of the

   magistrate judge’s recommendation that is “properly objected to.” Fed. R. Civ. P. 72(b)(3). An

   objection is proper only if it is sufficiently specific “to focus the district court’s attention on the

   factual and legal issues that are truly in dispute.” United States v. One Parcel of Real Prop., 73
Case 1:20-cv-00452-NYW-SKC Document 218 Filed 03/10/23 USDC Colorado Page 2 of 12




   F.3d 1057, 1060 (10th Cir. 1996). “Where an objection is not made or is made improperly, the

   Court has discretion to review the recommendation under whatever standard it deems appropriate.”

   Smith v. Krieger, 643 F. Supp. 2d 1274, 1279 (D. Colo. 2009) (citing Summers v. State of Utah,

   927 F.2d 1165, 1167 (10th Cir. 1991)).

          B.      Summary Judgment under Federal Rule of Civil Procedure 56

          Summary judgment is warranted “if the movant shows that there is no genuine dispute as

   to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

   56(a). “A dispute is genuine if there is sufficient evidence so that a rational trier of fact could

   resolve the issue either way. A fact is material if under the substantive law it is essential to the

   proper disposition of the claim.” Crowe v. ADT Sec. Servs., Inc., 649 F.3d 1189, 1194 (10th Cir.

   2011) (internal citations and quotation marks omitted). It is the movant’s burden to demonstrate

   that no genuine dispute of material fact exists for trial, whereas the nonmovant must set forth

   specific facts establishing a genuine issue for trial. See Nahno-Lopez v. Houser, 625 F.3d 1279,

   1283 (10th Cir. 2010). At all times, the Court will “view the factual record and draw all reasonable

   inferences therefrom most favorably to the nonmovant.” Zia Shadows, L.L.C. v. City of Las

   Cruces, 829 F.3d 1232, 1236 (10th Cir. 2016).

          To satisfy its burden at summary judgment, the nonmovant must point to competent

   summary judgment evidence creating a genuine dispute of material fact; conclusory statements

   based on speculation, conjecture, or subjective belief are insufficient. See Bones v. Honeywell

   Int’l, Inc., 366 F.3d 869, 875 (10th Cir. 2004); see also 10B Charles Alan Wright et al., Federal

   Practice and Procedure § 2738 (4th ed. 2022) (explaining that the nonmovant cannot rely on “mere

   reargument of a party’s case or a denial of an opponent’s allegation” to defeat summary judgment).

   In considering the nonmovant’s evidence, the Court cannot and does not weigh the evidence or

   determine the credibility of witnesses. See Fogarty v. Gallegos, 523 F.3d 1147, 1165 (10th Cir.

                                                    2
Case 1:20-cv-00452-NYW-SKC Document 218 Filed 03/10/23 USDC Colorado Page 3 of 12




   2008). Further, the Court may consider only admissible evidence, see Gross v. Burggraf Const.

   Co., 53 F.3d 1531, 1541 (10th Cir. 1995), though the evidence need not be in a form that is

   admissible at trial—only the substance must be admissible at trial. See Brown v. Perez, 835 F.3d

   1223, 1232 (10th Cir. 2016). For instance, “if th[e] evidence is presented in the form of an

   affidavit, the Rules of Civil Procedure specifically require a certain type of admissibility, i.e., the

   evidence must be based on personal knowledge.” Bryant v. Farmers Ins. Exch., 432 F.3d 1114,

   1122 (10th Cir. 2005). Indeed, “[t]o determine whether genuine issues of material fact make a

   jury trial necessary, a court necessarily may consider only the evidence that would be available to

   the jury.” Argo v. Blue Cross & Blue Shield of Kan., Inc., 452 F.3d 1193, 1199 (10th Cir. 2006).

   II.    BACKGROUND

          The factual allegations in the Second Amended Complaint, [Doc. 59; Doc. 59-1], are

   summarized in the Recommendation and restated here.

          To finance her continued education, Ms. Grays took out several student loans, which were

   serviced by Navient. According to the allegations in the Second Amended Complaint, in 2014

   Navient began incorrectly reporting her payment status to the major credit reporting services and

   when notified of its errors, failed to investigate or correct the information. Ms. Grays initiated this

   action for monetary damages as well as injunctive and declaratory relief in February 2020, arguing

   that Navient’s actions damaged her credit and prevented her from obtaining auto loans, credit

   cards, apartments, and jobs. See [Doc. 59-1]. Plaintiff asserts 11 claims against Defendant

   including: (1) various violations of the Fair Credit Reporting Act (“FCRA”); (2) conversion; (3)

   civil theft; (4) unjust enrichment; (5) breach of contract; (6) declaratory judgment regarding her

   remaining obligations under the purported contract; 1 (7) violations of the Colorado Consumer


   1
    In her declaratory judgment claim, Plaintiff seeks a “judicial declaration that the fees and interest
   charged by Navient to Plaintiff were inconsistent with the terms of its [contract,] declaring the
                                                     3
Case 1:20-cv-00452-NYW-SKC Document 218 Filed 03/10/23 USDC Colorado Page 4 of 12




   Protection Act (“CCPA”); (8) violations of the Colorado Consumer Credit Code (“CCCC”); (9)

   violations of the Colorado Uniform Commercial Code (“CUCC”); (10) breach of fiduciary duty;

   and (11) negligence. [Id. at 8–23].

          After discovery closed, Navient filed a Motion for Summary Judgment, seeking judgment

   in its favor on all of Plaintiff’s claims. [Doc. 183]. Ms. Gray filed a Response, wherein she

   addressed only her claims under the FCRA, [Doc. 199], and Navient replied, [Doc. 204]. The

   Motion for Summary Judgment was referred to Judge Crews for a Recommendation. [Doc. 187].

   After it was fully briefed, Judge Crews recommended that the Motion be granted. [Doc. 213].




   contract void and Plaintiff released from all obligations,” as well as “a permanent injunction,
   preventing Navient from committing similar actions against Plaintiff in the future.” [Doc. 59-1 at
   15]. The Recommendation notes Plaintiff’s “claim” for declaratory judgment and states that “[a]
   declaratory judgment . . . provides a remedy for valid federal claims and is not a stand-alone cause
   of action.” [Doc. 213 at 3 n.2]. However, although injunctive relief is not a separate cause of
   action, the Declaratory Judgment Act “allows a party in an actual case or controversy to ask the
   court to declare the rights or other legal relations of any interested party seeking such a
   declaration.” Bellwether Cmty. Credit Union v. Chipotle Mexican Grill, Inc., 353 F. Supp. 3d
   1070, 1088 (D. Colo. 2018). The Bellwether court rejected the defendant’s contention that the
   plaintiffs’ claim for declaratory relief was not an independent cause of action, noting that the
   plaintiffs did “not request a declaration merely as relief sought in connection with another claim;
   rather [they] ma[de] a separate claim under the Declaratory Relief Act.” Id. Similarly, here,
   Plaintiff appears to seek different relief under her breach of contract claim and declaratory
   judgment claim, although both claims relate to the same purported contract. See [Doc. 59-1 at 15].
   In any case, the Recommendation’s comment regarding whether or not a plaintiff can assert a
   standalone claim for declaratory judgment makes no difference to the Recommendation or this
   Order because this Court agrees that summary judgment should be granted as to Plaintiff’s breach
   of contract claim, which renders Plaintiff’s “declaratory judgment cause of action an empty vessel
   devoid of content and therefore—in [this] context—purely a remedy and not a cause of action.”
   Bellwether, 353 F. Supp. 3d at 1088 (citing Savant Homes v. Collins, No. 13-cv-2049-WJM-MEH,
   2015 WL 899302, at *11 (D. Colo. Feb. 27, 2015), aff’d, 809 F.3d 1133 (10th Cir.
   2016)); cf. United Fire & Cas. Co. v. Contractor Heating, Inc., 2008 WL 2572124, at *4 (D. Colo.
   June 24, 2008) (holding that the “lack of an underlying complaint . . . [was] fatal to [the Court’s]
   ability to render a decision in this action seeking anticipatory declaratory relief on the issue”).

                                                    4
Case 1:20-cv-00452-NYW-SKC Document 218 Filed 03/10/23 USDC Colorado Page 5 of 12




   III.   ANALYSIS

          Judge Crews begins his analysis in the Recommendation by addressing Plaintiff’s

   contention, in her Response to the Motion for Summary Judgment, that Defendant failed to comply

   with the Honorable William J. Martinez’s practice standards 2—in particular, the requirement that

   “[a]ll motions for summary judgment . . . must contain a section entitled ‘Movant’s Statement of

   Material Facts.’” WJM Revised Practice Standards II.F.3 (emphasis added). 3 Specifically,

   Defendant’s Motion included a section titled “Statement of Undisputed Facts.” [Doc. 183 at 2

   (emphasis added)]. Because of this difference in titling between Defendant’s “Statement of

   Undisputed Facts” and Judge Martinez’s “Movant’s Statement of Material Facts,” Plaintiff argued

   that she was “deprive[d] . . . of her ability to appropriately respond” to the facts asserted by

   Defendant under that section of the Motion. [Doc. 199 at 2]. And then, rather than directly respond

   to any of Defendant’s listed facts, Plaintiff provided her own “Factual Basis Supporting

   [Defendant’s] FCRA Violations and Plaintiff’s Damages.” [Doc. 199 at 3]. She did not, however,

   include a statement of facts related to her state law claims.

          In addressing this issue in the Recommendation, Judge Crews found that Defendant’s use

   of the term “undisputed” instead of “material” to be “a distinction without a difference.” [Doc.

   213 at 3]. He explained that Judge Martinez’s practice standards requires parties “to provide a list

   of material facts the movant believes entitles them to judgment as a matter of law” and, despite its

   use of a different title, “Defendant’s statement of facts, in form and substance, [did] as required.”


   2
    This case was reassigned to Judge Nina Y. Wang upon her appointment to this Court, after the
   Parties had completed their briefing for the Motion for Summary Judgment. See [Doc. 210].
   3
     This statement must “set forth in simple, declarative sentences, all of which are separately
   numbered and paragraphed, each material fact the movant believes supports movant’s claim that
   movant is entitled to judgment as a matter of law.” WJM Revised Practice Standards II.F.3. The
   responding party, in turn, must “provide a ‘Response to Movant’s Material Facts’ in its brief,
   admitting or denying the asserted material facts set forth by the movant.” Id. at II.F.4.

                                                     5
Case 1:20-cv-00452-NYW-SKC Document 218 Filed 03/10/23 USDC Colorado Page 6 of 12




   [Id. at 3–4].   Therefore, the Recommendation continues, “Plaintiff was not absolved from

   addressing those facts in accordance with the district judge’s practice standards or the Federal

   Rules of Civil Procedure.” [Id. at 4]. Judge Crews also acknowledged that, under the Federal

   Rules, properly asserted and supported facts may be deemed confessed when a responding party

   fails to address them. [Id.]; see also Fed. R. Civ. P. 56(e)(2)–(3); Murray v. Tahlequah, 312 F.3d

   1196, 1200 (10th Cir. 2002).      Nevertheless, Judge Crews “liberally construe[d] Plaintiff’s

   [R]esponse and her statement of the ‘Factual Basis Supporting [Defendant’s] FCRA Violations

   and Plaintiff’s Damages,’ to examine whether Plaintiff demonstrate[d] disputed issues of material

   fact warranting a trial on some or all of her FCRA claim(s).” [Doc. 213 at 4]. Judge Crews also

   noted that although Plaintiff chose to include a “factual basis” regarding her FCRA claim(s), she

   did not, however, “include a statement of facts related to her remaining state law claims.” [Id.].

   Accordingly, Judge Crews deemed “those facts proffered by Defendant, where appropriately

   supported by competent evidence, to be undisputed for purposes of analyzing the Motion.” [Id. at

   4–5].

           The Recommendation then proceeds to evaluate each of Plaintiff’s claims, finding that: (1)

   Plaintiff’s claims under the FCRA fail because the undisputed material facts establish that

   Defendant’s reporting was accurate; (2) Plaintiff’s claims of conversion, civil theft, and unjust

   enrichment fail because Plaintiff “cannot establish that Defendant exercised control over her

   property or received a benefit at her expense”; (3) Plaintiff’s breach of contract and CUCC claims

   fail because Plaintiff “has not produced evidence of a contract between her and Defendant” and,

   “without a contract, Defendant similarly cannot be held liable for breaching a duty of good faith

   and fair dealing under the CUCC”; (4) Plaintiff’s CCPA claim fails because the Second Amended

   Complaint contains “no allegations Defendant has engaged in an unfair or deceptive trade practice”



                                                   6
Case 1:20-cv-00452-NYW-SKC Document 218 Filed 03/10/23 USDC Colorado Page 7 of 12




   that significantly affects the public, and “because the undisputed facts establish that Defendant’s

   credit reporting was accurate, [Plaintiff] cannot establish the additional elements of her CCPA

   claim”; and (5) the FCRA preempts Plaintiff’s claim under the CCCC and her claims for

   negligence and breach of fiduciary duty. [Id. at 6–16].

          Plaintiff’s Objection. In her Objection, Ms. Grays does not object to any of the legal

   grounds cited by Judge Crews in recommending that the Motion for Summary Judgment be

   granted. See [Doc. 216]. Instead, Plaintiff primarily claims that she was not afforded the

   opportunity to respond to the factual assertions in the Motion because Defendant did not include a

   section titled “Statement of Material Facts” as contemplated by Judge Martinez’s practice

   standards. See generally [id.]. Relatedly, Plaintiff insists that the Recommendation’s acceptance

   of Defendant’s “Statement of Undisputed Facts” in the Motion—despite Defendant’s inexact

   adherence to the precise titling requirements in Judge Martinez’s practice standards—resulted in

   the application of different summary judgment standards to the Parties’ briefs, which constitutes

   an abuse of the Court’s discretion and resulted in manifest injustice and violation of Plaintiff’s

   rights. See, e.g., [id. at 2 (arguing that the Recommendation “focuses on one alleged failure of

   Plaintiff to respond to the movant’s alleged material facts as substantiation to grant the movant

   summary judgment; a clear manifest injustice which must be corrected”); id. at 3 (“The lower

   Court seeks to hold Plaintiff stringently to the same Practice Standard of responding to the factual

   allegations, yet not Defendant’s requirement to have the correct components required.”); id. at 5

   (arguing that the Recommendation “seek[s] to apply the newly assigned [district judge’s] practice

   standards retroactively to filings that had been pending prior to assignment”); id. at 6–7

   (“Requiring Plaintiff to respond when the section required by the Court was not present is

   inconsistent with Practice Standard of Judge Martinez on motions for summary judgment. . . .



                                                    7
Case 1:20-cv-00452-NYW-SKC Document 218 Filed 03/10/23 USDC Colorado Page 8 of 12




   Because there was no ‘Movant’s Statement of Material Facts[]’ in the motion for summary

   judgment, Plaintiff could not have a ‘Response.’” (citation omitted))].

          The Court finds that Plaintiff’s objections lack merit. As an initial matter, this Court agrees

   with the Recommendation that there are no discernable differences between Defendant’s

   “Statement of Undisputed Facts” and Judge Martinez’s “Statement of Material Facts,” and

   Defendant’s statement complied with Judge Martinez’s practice standards in both form and

   substance. Indeed, notwithstanding the different titling of Defendant’s factual section in the

   Motion, Judge Martinez’s practice standards requires that such statement

          shall set forth in simple, declarative sentences, all of which are separately numbered
          and paragraphed, each material fact the movant believes supports movant’s claim
          that movant is entitled to judgment as a matter of law. Each statement of fact must
          be accompanied by a specific reference to supporting evidence in the record.

   WJM Revised Practice Standards II.F.3.        The statement of facts in Defendant’s Motion is

   consistent with these requirements, see [Doc. 183 at 2–9], and Plaintiff does not claim otherwise,

   see generally [Doc. 216]. Plaintiff was therefore required, under Judge Martinez’s practice

   standards, to respond by admitting or denying each of those facts. WJM Revised Practice

   Standards II.F.4.   And yet, she failed to respond solely because Defendant used the term

   “Undisputed” instead of “Material.”

          In her Objection, Plaintiff asserts that “Undisputed is vastly different from Material.”

   [Doc. 216 at 7]. She does not, however, explain how the difference in those terms led her to

   conclude that the 52 facts asserted under Defendant’s “Statement of Undisputed Facts” in the

   Motion constituted a departure so far from Judge Martinez’s practice standards that she was

   “deprive[d] . . . of her ability to appropriately respond” to any of them. [Doc. 199 at 2].

   Respectfully, this Court is not persuaded. In essence, Plaintiff—whom Judge Crews noted “is not

   a novice to civil litigation” and “has filed and prosecuted many cases in this district with varying


                                                    8
Case 1:20-cv-00452-NYW-SKC Document 218 Filed 03/10/23 USDC Colorado Page 9 of 12




   degrees of success,” [Doc. 213 at 4]—acknowledged Defendant’s well-supported factual

   assertions but did not properly challenge them with admissible evidence, instead arguing that they

   were not material, even if they were undisputed.

           In addition, notwithstanding Judge Martinez’s practice standards, Rule 56 requires that

   Plaintiff respond to the facts asserted under Defendants “Statement of Undisputed Facts.” Plaintiff

   argues that the Recommendation applied “its own Rule that Plaintiff is required to respond to

   Defendant’s stated facts when Rule 56 fails to state that requirement.” [Doc. 216 at 7]. This is

   incorrect. Rule 56 provides that “[a] party asserting that a fact cannot be . . . disputed must support

   the assertion by . . . citing to particular parts of materials in the records.” Fed. R. Civ. P. 56(c)(1)

   (emphasis added). And a party asserting a fact is genuinely disputed must respond by “showing

   that the materials cited do not establish the absence . . . of a genuine dispute.” Id. Thus,

   Defendant’s “Statement of Undisputed Facts” in the Motion—i.e., its assertions that various facts

   “cannot be . . . disputed,” id.—complied with Rule 56. It follows that Plaintiff was required to

   properly address those facts or risk a “grant [of] summary judgment if the motion and supporting

   materials — including the facts considered undisputed — show that the movant is entitled to it.”

   Fed. R. Civ. P. 56(e).

           Further, insofar as Plaintiff believed disputed facts existed that precluded summary

   judgment, or facts that contradicted any of Defendant’s assertions under its “Statement of

   Undisputed Facts,” nothing precluded her from raising them in her Response to the Motion for

   Summary Judgment. Indeed, she included a section titled “Statement of Additional Disputed

   Facts,” under which she included a single sentence that does not address any material facts related

   to her claims. See [Doc. 199 at 3 (“Defendant multiple times consented to this Court’s jurisdiction,

   thus barring defenses of statute of limitations contesting the jurisdiction of the Court, Defendant’s



                                                      9
Case 1:20-cv-00452-NYW-SKC Document 218 Filed 03/10/23 USDC Colorado Page 10 of 12




    plight to reinvigorate defenses in Summary Judgment is futile as this defense has been

    relinquished.”)]. And, as noted above, Plaintiff’s Response to the Motion also included a section

    titled “Factual Basis for Supporting [Defendant’s] FCRA Violations and Plaintiff’s Damages.”

    [Id.]. Judge Crews specifically construed that section liberally “to examine whether Plaintiff

    demonstrate[d] disputed issues of material fact warranting a trial on some or all of her FCRA

    claim(s),” [Doc. 213 at 4], and determined that she had not.

           Plaintiff also contends that Judge Crews failed to consider all the evidence she cited in her

    Response to the Motion. See [Doc. 216 at 8]. For instance, she claims that the Recommendation’s

    statement that “Plaintiff cannot demonstrate actual inaccuracies” is contradicted by her

    demonstration that “Defendant had admitted the dates were inaccurate by removing them” and

    “the inaccuracies had also been documented by the Colorado Attorney General.” [Id. (citing, inter

    alia, [Doc. 199 at 5–6, ¶¶ 18, 22])]. However, Plaintiff quotes the Recommendation out of context,

    and the evidence Plaintiff cites does not support her claims. 4 In any event, the Recommendation

    discusses a letter from Defendant to Plaintiff regarding the removal of a specific loan from her

    credit report, which Plaintiff relied upon to show that Defendant’s reporting was inaccurate. See

    [Doc. 213 at 9–10]; see also [Doc. 183-5 at 29]. And the Recommendation sufficiently explained

    why that letter does not create a genuine factual dispute:


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      The Recommendation stated, “[b]ecause Plaintiff cannot “demonstrate actual inaccuracies that
    [Defendant’s] objectively reasonable investigation would have been able to discover, there is no
    triable issue as to whether Defendant violated the FCRA.” [Doc. 213 at 10 (emphasis added)
    (cleaned up)]. In addition, the record Plaintiff cites to support her assertion that “Defendant had
    admitted the dates were inaccurate by removing them” appears to be an internal document from
    Defendant that tracks various details about Plaintiff’s loans and communications with her about
    them. See [Doc. 104 at 13–14 (referenced in [Doc. 199 at 5, ¶ 18])]. Further, Plaintiff points to
    page 3 of [Doc. 103-4]—as referenced in [Doc. 199 at 6, ¶ 22]—to support her assertion that “the
    inaccuracies had also been documented by the Colorado Attorney General.” However, [Doc. 103-
    4], a letter from Defendant to Plaintiff, contains only two pages, and the Colorado Attorney
    General’s Office is simply carbon copied at the end of the letter. [Doc. 103-4 at 2].

                                                    10
Case 1:20-cv-00452-NYW-SKC Document 218 Filed 03/10/23 USDC Colorado Page 11 of 12




           Critically, as Plaintiff acknowledged in her deposition, there is no indication in the
           letter as to why the loan was being removed or that it did not belong to Plaintiff.
           Plaintiff’s claim is again based solely on her own speculation that Defendant would
           only remove a loan from her credit report if that loan did not belong to her.
           Plaintiff’s speculation alone, however, is insufficient to create a disputed issue of
           material fact.

    [Doc. 213 at 9–10 (citations omitted)]. Plaintiff does not dispute the Recommendation’s findings

    in this regard. See [Doc. 216 at 8–9].

           Finally, Plaintiff further objects to the Recommendation on the grounds that (1) “[t]he

    inaccuracies are overtly evident in simple comprehension of math” because “one account cannot

    be 90 days [late] one month and then ‘150’ in the next 30 days”; and (2) she “provided two expert

    reports to the Court at the settlement conference in which the factual [sic] inaccurate reporting is

    substantiated.” [Id. at 8 (citations omitted)]. However, neither of these assertions create factual

    disputes warranting a denial of summary judgment for Defendant. With respect to the calculation

    of late payments, Judge Crews explained in the Recommendation that “[t]here is no dispute

    between the parties that Department of Education guidance instructs loan servicers to refrain from

    reporting delinquencies until they are at least 90 days past due.” [Doc. 213 at 6 n.6 (emphasis

    added)]. The Recommendation continues:

           [B]ased on [Plaintiff’s] January 1, 2014, payment deadline, Plaintiff’s account was
           119 days past due on April 30. Thus, reporting her account as at least 90 days late
           as of [April 30, 2014] was not inaccurate. And by May 31, her account was
           precisely 150 days late, which accounts for any apparent mathematical discrepancy.

    [Id. at 7 n.8 (emphasis added)]. In addition, Plaintiff fails to attach to her Response or Objection

    a copy of the expert reports she claims substantiates that Defendant made inaccurate reports

    regarding her payments. See, e.g., [Doc. 199 at 5 (Plaintiff’s Response to the Motion, referencing

    “Expert Reports emailed to the Court and Defendant pursuant to the Settlement Conference”)].




                                                    11
Case 1:20-cv-00452-NYW-SKC Document 218 Filed 03/10/23 USDC Colorado Page 12 of 12




    IV.   CONCLUSION

          For the reasons set forth herein, it is ORDERED that:

          (1)    Plaintiff’s Objections to Report and Recommendations [Doc. 216] is

                 OVERRULED;

          (2)    The Recommendation [Doc. 213] is ADOPTED;

          (3)    Defendant’s Motion for Summary Judgment [Doc. 183] is GRANTED; and

          (4)    Defendant is entitled to its costs pursuant to Federal Rule of Civil Procedure 54(d)

                 and D.C.COLO.LCivR 54.1.


    DATED: March 10, 2023                              BY THE COURT:

                                                       _______________________
                                                       Nina Y. Wang
                                                       United States District Judge




                                                  12
